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                   EXHIBIT A
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 140 West Street
 7th Floor
 New York, NY 10007
 Tel (212) 519-4716
 Fax (212) 962-1687
 keefe.b.clemons@verizon.com

 Keefe B. Clemons
 VP & General Counsel, State Regulatory Affairs –
 East Region




                                                    April 15, 2019


Hon. Lovely A. Warren
Mayor, City of Rochester
City Hall, Room 309A
Rochester, NY 14614


        Re: City of Rochester Ordinance No. 2019-34, New Chapter 106 of the Municipal
        Code Regarding Telecommunications Facilities in the Right-of-Way


Dear Mayor Warren,

         On February 20, 2019, the City of Rochester (“Rochester” or the “City”) adopted
Ordinance No. 2019-34 (the “Ordinance”), amending the Municipal Code to add a new Chapter 106,
the “Telecommunications Code of the City of Rochester, New York.” As providers of wireless and
wireline communications services in Rochester, Cellco Partnership, d/b/a Verizon Wireless, and its
affiliates providing landline communications services (together “Verizon”) are significantly affected
by the Ordinance and are concerned that many of its provisions would deter us from investing in and
deploying wireless and wireline facilities in the City. On January 10, 2019, we wrote you, stating
that the draft legislation adding new Chapter 106 (the “Proposed Ordinance”) “would, by
substantially increasing the costs and administrative burdens associated with use of the City’s rights-
of-way, deter the deployment of advanced network facilities in the City” and that the proposal was
“in direct conflict with applicable law, including recent developments in federal law relating to the
siting of small wireless facilities.” In an effort to resolve these concerns with the Proposed
Ordinance, on February 7, 2019, we sent your staff proposed amendments, which, among other
things, aligned the provisions of the Proposed Ordinance with federal law. Specifically, we proposed
in one amendment to revise “Article IV. Fees and Compensation” to ensure that recurring fees for
use of the City’s rights-of-way, including for the deployment of small wireless facilities, would
comply with the federal law’s requirement that these fees must be (1) a reasonable approximation of
the City’s costs for use of the City’s rights-of-way, (2) based on only objectively reasonable costs,
and (3) no higher than fees charged to similarly-situated competitors in similar situations. In adopting
the Ordinance, the City did not include this proposed amendment nor other amendments that would
have ensured the Ordinance is consistent with federal law. Verizon is now writing you to inquire
whether it is the City’s position that the fees and compensation set forth in Article IV of the
Ordinance would comply with federal law, including by ensuring recurring fees for use of the City’s
rights-of-way are cost-based and include only objectively reasonable costs. We also would like to
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know whether it is the City’s position that the recurring fees for pole attachments in its proposed Pole
Attachment Agreement comply with federal law. In both instances, if you believe the City is in
compliance, we respectfully request that you provide us with support for the City’s position.
Consumers in Rochester rely on wireless services and are constantly asking Verizon to expand and
upgrade our network to provide higher performance services with more innovative capabilities and
greater reliability. We are eager to respond, most especially by deploying small cell “5G capable”
and related fiber facilities in Rochester. Your responses to our inquiries will affect Verizon’s
decisions to deploy these facilities in the City. We respectfully request that you respond by April
29th. Please let me know if you have any questions.


                                        Sincerely,




                                        Keefe B. Clemons




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        Keefe - Thanks for your recent note to Mayor Warren. Though your questions were
perhaps rhetorical, we want to assure Verizon and all telecom providers that we have concluded
that our permit fees and recurring fees for use of the City’s rights of way, including those for
pole attachments related to the deployment of small wireless facilities, comply with all federal
law requirements and limitations. You understand that requesting justifiable reimbursement
from our telecom providers appropriately shifts that burden away from the City’s taxpayers who
would otherwise incur those costs irrespective of whether or not they are also a Verizon
customer. It would be an unfair burden to place solely on our taxpayers.

          You are aware we amended our proposed Code earlier this year to more closely align
with the recent FCC Broadband Deployment Ruling and based on comments and requests
received from industry wireless providers, including Verizon. We conducted a number of
meetings with Verizon and other telecom providers. We took all questions into account and
revised our draft provisions to the extent we considered appropriate.

          We hope that you understand our responsibilities to our taxpayers and we look
forward to further discussions regarding Verizon’s facilities in our City. Thank you.



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                                             Timothy R. Curtin

                                       Corporation Counsel

                                City of Rochester

                                30 Church Street, Room 400

                                Rochester, NY 14614

                                (585) 428-7741

                                Tim.Curtin@CityofRochester.Gov




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